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      Declaration of Mark C. Mao
                         Exhibit 3
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From: Mark C. Mao
Sent: Tuesday, June 11, 2024 5:57 PM
To: 'Barry Walker' <BarryW@potterhandy.com>
Cc: Mark Potter <mark@potterhandy.com>
Subject: RE: Brown v. Google / Tolling Agreement



Mr. Walker – I have no objections to you seeking the tolling agreement directly from Google. It is
quite standard. Cheers.



From: Barry Walker <BarryW@potterhandy.com>
Sent: Monday, June 10, 2024 6:43 AM
To: Mark C. Mao <mmao@BSFLLP.com>
Cc: Mark Potter <mark@potterhandy.com>
Subject: Brown v. Google / Tolling Agreement



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recognize the sender.




Good morning Mr. Mao,



We represent numerous members of the Brown v. Google class, who are seeking damages in state
court. Recently, the Court added our case to the general order for Google Incognito cases ﬁled in
Santa Clara County.


I'm reaching out for two reasons; ﬁrst to introduce myself in hopes of coordinating with your team
regarding the Incognito claims; and secondly to obtain a copy of the tolling agreement you
negotiated with Google in the class action.



I look forward to hearing from you and have provided my mobile number below.



Best Regards,



Barry Walker, Esq.
     Case 4:20-cv-03664-YGR            Document 1119-4         Filed 07/16/24      Page 3 of 3



BarryW@potterhandy.com



Potter Handy LLP

100 Pine St., Ste. 1250

San Francisco CA 94111



Electronic Service address: Serve@potterhandy.com



***All Mail, Overnight & Settlement Payments send to:***

Potter Handy LLP

ATTN: Rhonda Handy

1410 E Winding Way, Suite B,

Friendswood, Texas 77546



Office: (415) 534-1911

Mobile: (909) 731-3864

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